Case 2:22-cv-04663-CAS-JC Document 12-1 Filed 07/20/22 Page 1 of 31 Page ID #:153



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  13                    IN THE UNITED STATES DISTRICT COURT
  14                        CENTRAL DISTRICT OF CALIFORNIA
  15    JUNIOR SPORTS MAGAZINES               CASE NO: 2:22-cv-04663-CAS (JCx)
        INC., RAYMOND BROWN,
  16    CALIFORNIA YOUTH SHOOTING             PLAINTIFFS’ MEMORANDUM OF
        SPORTS ASSOCIATION, INC.,             POINTS AND AUTHORITIES IN
  17    REDLANDS CALIFORNIA                   SUPPORT OF PLAINTIFFS’ MOTION
        YOUTH CLAY SHOOTING                   FOR PRELIMINARY INJUNCTION
  18    SPORTS, INC., CALIFORNIA
        RIFLE & PISTOL ASSOCIATION,           Hearing Date:     August 22, 2022
  19    INCORPORATED, THE CRPA                Hearing Time:     10:00 a.m.
        FOUNDATION, AND GUN                   Courtroom:        8D
  20    OWNERS OF CALIFORNIA, INC.;           Judge:            Christina A. Snyder
        and SECOND AMENDMENT
  21    FOUNDATION,
  22                          Plaintiffs,
  23                   v.
  24    ROB BONTA, in his official capacity
        as Attorney General of the State of
  25    California; and DOES 1-10,
  26                          Defendant.
  27
  28

                                     i
               PLAINTIFFS’ MEMORANDUM OF POINTS & AUTHORITIES
Case 2:22-cv-04663-CAS-JC Document 12-1 Filed 07/20/22 Page 2 of 31 Page ID #:154



  1                                             TABLE OF CONTENTS
  2                                                                                                                       Page
  3    Table of Contents .................................................................................................... ii
  4    Table of Authorities ............................................................................................... iii
  5    Introduction ............................................................................................................ 1
  6    Factual Background ................................................................................................ 1
  7    I.       California’s Assembly Bill 2571 (Bauer-Kahan)........................................... 1
  8    II.      The Impact of AB 2571 on Plaintiffs’ Protected Conduct ............................. 5
  9    Argument ................................................................................................................ 8
  10   I.       Plaintiffs Are Likely to Succeed on the Merits of Their Claims .................... 8
  11            A.       AB 2571 Impermissibly Infringes on Plaintiffs’ Right to Free Speech 8
  12                     1.        The First Amendment Protects Plaintiffs’ Speech ..................... 9
  13                     2.        AB 2571 Is an Impermissible Content- and Viewpoint-based
                                   Restriction on Speech ..............................................................11
  14
                         3.        AB 2571 Cannot Survive Heightened Scrutiny ........................13
  15
                         4.        Even If AB 2571 Restricted Only Commercial Speech, It Fails
  16                               the Test Set Forth in Central Hudson .......................................15
  17                               a.       AB 2571 restricts non-misleading speech that concerns
                                            lawful activity. ...............................................................16
  18
                                   b.       The State has no substantial interest in banning Plaintiffs’
  19                                        protected commercial speech. ........................................17
  20                               c.       AB 2571 does not directly and materially advance the
                                            State’s purported interests. .............................................18
  21
                                   d.       AB 2571 is far more extensive than necessary to achieve
  22                                        the State’s purported interests. .......................................19
  23            B.       AB 2571 Impermissibly Infringes on Plaintiffs’ Right to Associate ...21
  24            C.       AB 2571 Denies Plaintiffs Equal Protection Under the Law ..............22
  25   II.      Plaintiffs Are Suffering Irreparable Harm and Will Continue to Suffer Such
                Harm if the Court Denies Preliminary Relief ...............................................23
  26
       III.     The Balance of Equities and Public Interest Warrant Relief .........................24
  27
       Conclusion .............................................................................................................25
  28

                                       ii
                  PLAINTIFFS’ MEMORANDUM OF POINTS & AUTHORITIES
Case 2:22-cv-04663-CAS-JC Document 12-1 Filed 07/20/22 Page 3 of 31 Page ID #:155



  1                                        TABLE OF AUTHORITIES
  2                                                                                                            Page(s)
  3    Cases
  4    Am. Civ. Liberties Union v. Alvarez,
         679 F.3d 583 (7th Cir. 2012) ............................................................................ 24
  5
       Am. Trucking Ass’ns, Inc. v. City of Los Angeles,
  6      559 F.3d 1046 (9th Cir. 2009) ............................................................................8
  7    Ark. Writers’ Project v. Ragland,
          481 U.S. 221 (1987)......................................................................................... 11
  8
       Brown v. Entm’t Merchs. Ass’n,
  9       564 U.S. 786 (2011)................................................................................... 14, 20
  10   Cent. Hudson Gas & Elec. Corp. v. Public Serv. Comm’n,
         447 U.S. 557 (1980)......................................................................... 9, 16, 17, 19
  11
       Chalk v. U.S. Dist. Ct. (Orange Cty. Superin. of Schs.),
  12     840 F.2d 701 (9th Cir. 1998) ..............................................................................8
  13   Doe v. Harris,
         772 F.3d 563 (9th Cir. 2014) ..............................................................................8
  14
       Edenfield v. Fane,
  15     507 U.S. 761 (1993)......................................................................................... 18
  16   Edge v. City of Everett,
         929 F.3d 657 (9th Cir. 2019) ............................................................................ 15
  17
       Elrod v. Burns,
  18      427 U.S. 347 (1976)......................................................................................... 23
  19   Erznoznik v. Jacksonville,
          422 U.S. 205 (1975)................................................................................... 19, 20
  20
       Ezell v. City of Chicago,
  21      846 F.3d 888 (7th Cir. 2017) ............................................................................ 13
  22   Frisby v. Schultz,
          487 U.S. 474 (1988)......................................................................................... 15
  23
       Gordon v. Holder,
  24     721 F.3d 638 (D.C. Cir. 2013) ......................................................................... 24
  25   Greater New Orleans Broad. Ass’n v. United States,
         528 U.S. 173 (1999)......................................................................................... 18
  26
       Hunt v. City of Los Angeles,
  27     601 F. Supp. 2d 1158 (C.D. Cal. 2009) ............................................................ 10
  28

                                       iii
                  PLAINTIFFS’ MEMORANDUM OF POINTS & AUTHORITIES
Case 2:22-cv-04663-CAS-JC Document 12-1 Filed 07/20/22 Page 4 of 31 Page ID #:156


       Index Newsps. LLC v. U.S. Marshalls Serv.,
  1       977 F.3d 817 (9th Cir. 2020) ............................................................................ 24
  2    Klein v. City of San Clemente,
          584 F.3d 1196 (9th Cir. 2009) .......................................................................... 24
  3
       Lorillard Tobacco Co. v. Reilly,
  4       533 U.S. 525 (2001)............................................................................. 17, 20, 21
  5    Loving v. Virginia,
          388 U.S. 1 (1967)............................................................................................. 22
  6
       Madsen v. Women’s Health Ctr. Inc.,
  7      512 U.S. 753 (1994)......................................................................................... 13
  8    McCutcheon v. FEC,
         572 U.S. 185 (2014)......................................................................................... 13
  9
       Melendres v. Arpaio,
  10     695 F.3d 990 (9th Cir. 2012) ............................................................................ 23
  11   NAACP v. Patterson,
         357 U.S. 449 (1958)................................................................................... 21, 22
  12
       Nken v. Holder,
  13     556 U.S. 418 (2009)......................................................................................... 24
  14   Nordyke v. Santa Clara,
         110 F.3d 707 (9th Cir. 2009) ..............................................................................9
  15
       Police Dep’t v. Mosley,
  16      408 U.S. 92 (1972)..................................................................................... 11, 22
  17   Reed v. Town of Gilbert,
          576 U.S. 155 (2015)................................................................................... 11, 13
  18
       Rodriguez v. Robbins,
  19     715 F.3d 1127 (9th Cir. 2013) .......................................................................... 25
  20   Rubin v. Coors Brewing Co.,
         514 U.S. 476 (1995)......................................................................................... 18
  21
       Sorrell v. IMS Health, Inc.,
  22      564 U.S. 552 (2011)................................................................................... 16, 19
  23   Thompson v. W. States Med. Ctr.,
         535 U.S. 357 (2002)................................................................................... 19, 20
  24
       Tracy Rifle & Pistol LLC v. Harris,
  25      339 F. Supp. 3d 1007 (E.D. Cal. 2018) ...................................................... 18, 21
  26   United States v. Alvarez,
         567 U.S. 709 (2012)...........................................................................................9
  27
       United States v. Playboy Entm’t Grp., Inc.,
  28     529 U.S. 803 (2000)...........................................................................................9

                                       iv
                  PLAINTIFFS’ MEMORANDUM OF POINTS & AUTHORITIES
Case 2:22-cv-04663-CAS-JC Document 12-1 Filed 07/20/22 Page 5 of 31 Page ID #:157


       Va. Bd. of Pharm. v. Va. Citzs. Consumer Council,
  1       425 U.S. 748 (1976)......................................................................................... 19
  2    Valle Del Sol v. Whiting,
          709 F.3d 808 (9th Cir. 2013) ...................................................................... 20, 21
  3
       W. Va. State Bd. of Educ. v. Barnette,
  4       319 U.S. 624 (1943)...........................................................................................9
  5    Statutes
  6    10 U.S.C. § 246 .................................................................................................... 17
  7    Cal. Bus. & Prof. Code § 22949.80 ................................................................ passim
  8    Cal. Pen. Code § 29615....................................................................... 12, 13, 16, 17
  9    Cal. Pen. Code § 29655................................................................................... 12, 16
  10   Other Authorities
  11   11A Charles Alan Wright et al., Federal Practice and Procedure §
         2948.1 (2d ed. 1995) ........................................................................................ 23
  12
       Josh Sugarman, “Start Them Young” How the Firearms Industry and
  13      Gun Lobby Are Targeting Your Children (Feb. 2016) ...................................... 14
  14   Rosalio Ahumada, Gavin Newsom Signs New Gun Safety Laws
         Targeting Illegal Weapons, Marketing to Kids, Sac. Bee (July 1,
  15     2022) ............................................................................................................... 12
  16   U.S. Const., amend. I ..................................................................................... passim
  17   U.S. Const., amend. II .................................................................................... passim
  18   U.S. Const. amend. XIV ....................................................................................... 22
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28

                                       v
                  PLAINTIFFS’ MEMORANDUM OF POINTS & AUTHORITIES
Case 2:22-cv-04663-CAS-JC Document 12-1 Filed 07/20/22 Page 6 of 31 Page ID #:158



  1                                     INTRODUCTION
  2          “Have you no common decency?” This is the question Governor Gavin
  3    Newsom posed to members of our Supreme Court and those who do not share his
  4    world view when he announced that he had just signed Assembly Bill 2571, a state
  5    law flatly banning a broad swath of speech by “firearms industry members” who
  6    seek to impart their viewpoints “concerning firearm-related products” to youth. Not
  7    content to merely restrict unlawful access to and use of firearms, Governor Newsom
  8    and the state of California now seek to prevent the Second Amendment community
  9    from passing down their traditions and ideals to the next generation.
  10         In service of that end, AB 2571 bans communications by “firearm industry
  11   members” seeking to promote the use of firearms and related products if those
  12   communications reasonably appear to be attractive to minors. The broad-sweeping
  13   law applies not only to “commercial speech” targeting children or encouraging them
  14   to engage in unlawful behavior, but to a great deal of political and educational
  15   speech, truthful commercial speech aimed at adults, and speech promoting activities
  16   that are perfectly lawful to engage in—even by minors in California. Because the
  17   law is not tailored to serving a compelling governmental interest, it violates the First
  18   Amendment rights to free speech, assembly, and association. Because it strikes at
  19   speech about a fundamental right and is rooted in animus for the speaker and the
  20   message, it also violates the right to equal protection under the law.
  21         Plaintiffs thus seek to preliminarily enjoin AB 2571 while this case proceeds.
  22   Such relief is necessary because Plaintiffs are likely to succeed on the merits,
  23   because they suffer irreparable harm every second the law is in force, and because
  24   the balance of equities and public interest tip sharply in favor of enjoining the law.
  25                               FACTUAL BACKGROUND
  26   I.    CALIFORNIA’S ASSEMBLY BILL 2571 (BAUER-KAHAN)
  27         AB 2571, which added section 22949.80 to the California Business &
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               PLAINTIFFS’ MEMORANDUM OF POINTS & AUTHORITIES
Case 2:22-cv-04663-CAS-JC Document 12-1 Filed 07/20/22 Page 7 of 31 Page ID #:159



  1    Professions Code,1 makes it unlawful for “firearm industry members” to “advertise,
  2    market, or arrange for placement of an advertising or marketing communication
  3    concerning any firearm-related product in a manner that is designed, intended, or
  4    reasonably appears to be attractive to minors.” Cal. Bus. & Prof. Code §
  5    22949.80(a)(1). Because the law creates a number of statutory definitions for
  6    otherwise common words and phrases, it is important to discuss each definition in
  7    order to better understand the full breadth of California’s ban on speech.
  8          First, AB 2571 targets speech not only “designed or intended” for minors, but
  9    that which might “reasonably appear[] to be attractive to minors.” Id. Though the
  10   phrase is open to broad subjective interpretation, AB 2571 provides some guidance
  11   for courts tasked with determining whether a communication is “attractive to
  12   minors.” Id. § 22949.80(a)(2). “[A] court shall consider the totality of the
  13   circumstances,” including but not limited to, whether the communication:
  14                (A) Uses caricatures that reasonably appear to be minors or
                        cartoon characters to promote firearm-related products.
  15
                    (B) Offers brand name merchandise for minors, including,
  16                    but not limited to, hats, t-shirts, or other clothing, or
                        toys, games, or stuffed animals, that promotes a firearm
  17                    industry member or firearm-related product.
  18                (C) Offers firearm-related products in sizes, colors, or
                        designs that are specifically designed to be used by, or
  19                    appeal to, minors.
  20                (D) Is part of a marketing or advertising campaign designed
                        with the intent to appeal to minors.
  21                (E) Uses images or depictions of minors in advertising and
                        marketing materials to depict the use of firearm-related
  22                    products.
  23                (F) Is placed in a publication created for the purpose of
                        reaching an audience that is predominately composed of
  24                    minors and not intended for a more general audience
                        composed of adults.
  25
  26   Id. § 22949.80(a)(2).
  27         Second, AB 2571 does not bar all speakers from “advertising and marketing”
  28
             1
                 Throughout this motion, Plaintiffs refer to section 22949.80 as AB 2571.
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                 PLAINTIFFS’ MEMORANDUM OF POINTS & AUTHORITIES
Case 2:22-cv-04663-CAS-JC Document 12-1 Filed 07/20/22 Page 8 of 31 Page ID #:160



  1    “firearm-related products.” Rather, section 22949.80(c)(4) targets only “firearm
  2    industry members,” which the law defines in two ways:
  3               (A) A person, firm, corporation, company, partnership,
                      society, joint stock company, or any other entity or
  4                   association engaged in the manufacture, distribution,
                      importation, marketing, wholesale, or retail sale of
  5                   firearm-related products.
  6               (B) A person, firm, corporation, company, partnership,
                      society, joint stock company, or any other entity or
  7                   association formed for the express purpose of
                      promoting, encouraging, or advocating for the purchase,
  8                   use, or ownership of firearm-related products that does
                      one of the following:
  9
                        (i) Advertises firearm-related products.
  10                    (ii) Advertises events where firearm-related products
  11                         are sold or used.
                        (iii) Endorses specific firearm-related products.
  12
                        (iv) Sponsors or otherwise promotes events at which
  13                         firearm-related products are sold or used.
  14         AB 2571 thus does not apply to members of the book, movie, television, and
  15   video game industries, even though the author of AB 2571 expressly identified the
  16   “slick advertising” of “firearm-related products” in children’s books, cartoons, and
  17   video games as sources of “shameless” advertising of “weapons” to children. Req.
  18   Jud. Ntc., Ex. 6 at 9. The law does, however, apply to organizations formed to
  19   promote and preserve the rights to keep and bear arms, organizations that offer
  20   competitive and recreational shooting programs, businesses that offer shooting skills
  21   courses or firearm-safety training, and gun show promoters—not just firearms
  22   manufacturers and retailers. Cal. Bus. & Prof. Code § 22949.80(c)(4).
  23         Finally, AB 2571 broadly defines “advertising or marketing” as any
  24   “communication” made or placed by a “firearm industry member” in exchange for
  25   compensation, if the “primary purpose” is to promote not just the purchase but even
  26   the “use [of] the product or service.” Id. § 2949.80(c)(6) (emphasis added). And
  27   because the restriction extends to any such communication that even concerns a
  28   “firearm-related product,” id. § 22949.80(a)(1), it sweeps within its sizable grasp not

                                    3
               PLAINTIFFS’ MEMORANDUM OF POINTS & AUTHORITIES
Case 2:22-cv-04663-CAS-JC Document 12-1 Filed 07/20/22 Page 9 of 31 Page ID #:161



  1    just traditional “advertising or marketing” as laypeople might conceive of it, but all
  2    manner of speech that promotes the use of “firearm-related products.”
  3          AB 2571 thus restricts honest commercial speech promoting lawful activities
  4    and services, including, but not limited to, traditional advertisements for youth
  5    shooting competitions and recreational events, firearm-safety classes, shooting skills
  6    courses, and youth shooting programs and organizations. Compl. ¶ 57. But it also
  7    bans a broad category of pure speech, including, but not limited to:
  8               a.   All (or nearly all) aspects of youth hunting and shooting
                       magazines by organizations and businesses whose
  9                    purpose is to promote the shooting sports and the
                       websites, social media, and other communications
  10                   promoting those magazines;
  11              b.   Videos, cartoons, coloring books, posters, social media
                       posts, and education campaigns by gun rights
  12                   organizations and/or firearms trainers encouraging youth
                       to take up lawful recreational or competitive shooting
  13                   activities or teaching about firearm safety;
  14              c.   Branded merchandise, giveaways, or “swag” by a
                       “firearm industry member” that promotes a “firearm
  15                   industry member,” including nonprofit Second
                       Amendment organizations, or contains pro-gun slogans;
  16              d.   Youth firearm- and hunter-safety courses and youth
                       shooting skills courses, as well as recommendations by
  17                   trainers about the most appropriate firearms, ammunition,
                       and accessories for young and beginner shooters; and
  18
                  e.   Signage, flyers, posters, discussions, merchandise, and
  19                   other communications generally depicting minors
                       enjoying or encouraging minors to enjoy their right to
  20                   possess and use firearms at recreational or competitive
                       shooting events—conduct that is legal under California
  21                   law—as well as communications promoting such events.
  22         Any person who violates AB 2571 “shall be liable for a civil penalty not to
  23   exceed twenty-five thousand dollars ($25,000) for each violation, which shall be
  24   assessed and recovered in a civil action brought in the name of the people of the
  25   State of California by Defendant Attorney General Rob Bonta (“the State”) or by
  26   any district attorney, county counsel, or city attorney in any court of competent
  27   jurisdiction.” Id. § 22949.80(e)(1). AB 2571 also authorizes any “person harmed by
  28   a violation of this section” to “commence a civil action to recover their actual

                                    4
               PLAINTIFFS’ MEMORANDUM OF POINTS & AUTHORITIES
Case 2:22-cv-04663-CAS-JC Document 12-1 Filed 07/20/22 Page 10 of 31 Page ID #:162



   1    damages,” as well as attorney’s fees and costs. Id. § 22949.80(e)(3)-(5).
   2    II.   THE IMPACT OF AB 2571 ON PLAINTIFFS’ PROTECTED CONDUCT
   3          AB 2571 was adopted by the Legislature and signed by the governor on June
   4    30, 2022, and immediately went into effect, Compl. ¶ 42, sending industry members
   5    scrambling to comply with the law’s nearly indecipherable restrictions on their
   6    speech. Indeed, Plaintiffs and other “firearm industry members” throughout the
   7    country immediately postponed or canceled youth shooting events and hunter’s
   8    safety courses, scrubbed advertising for such events from their websites, and
   9    terminated magazine subscriptions for minors living in California. See, e.g., Fink
  10    Decl. ¶¶ 16-17, Exs. 19-20; Minnich Decl. ¶¶ 8, 15.
  11          Plaintiffs are a group of “firearm industry members,” as defined by AB 2571,
  12    that regularly “advertise, market, or arrange for placement of an advertising or
  13    marketing communication concerning … firearm-related product[s] in a manner that
  14    is designed, intended, or [might] reasonably appear[] to be attractive to minors.”
  15    Compl. ¶¶ 65-96; Coleman Decl. ¶¶ 2-8; Fink Decl. ¶¶ 2-3, 9-15, Ex. 13; Gomez
  16    Decl. ¶¶ 2-9; Gottlieb Decl. ¶¶ 6-15; Minnich Decl. ¶¶ 2-15; Paredes Decl. ¶¶ 2-6;
  17    Rangel Decl. ¶¶ 2-8.
  18          Plaintiff Junior Sports Magazines publishes and distributes the online and
  19    print magazine Junior Shooters, a shooting sports magazine that promotes,
  20    encourages, and advocates for the lawful use of firearms—especially by young
  21    people. Fink Decl. ¶ 3. The magazine is specifically for young people, and it is
  22    dedicated to promoting the participation and achievements of youth in the shooting
  23    sports. Id. Junior Shooters regularly includes articles, images, and other depictions
  24    of minors using “firearm-related products,” as well as endorsements of specific
  25    products appropriate for young and beginner shooters. Id. ¶¶ 10-13, Exs. 14-15.
  26    Junior Shooters also includes articles and advertisements promoting youth shooting
  27    competitions and recreational events, youth shooting organizations, firearm-safety
  28    courses, and shooting skills courses, as well as traditional advertisements for

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                PLAINTIFFS’ MEMORANDUM OF POINTS & AUTHORITIES
Case 2:22-cv-04663-CAS-JC Document 12-1 Filed 07/20/22 Page 11 of 31 Page ID #:163



   1    “firearm-related products.” Id. ¶¶ 11, 14-15. Because AB 2571 bans all of this
   2    otherwise protected speech, the website for Junior Shooters now warns visitors that
   3    youth in California may not access the site and future editions will not be available
   4    for distribution in California. Id. ¶¶ 16-17, Exs. 19-20.
   5          Plaintiff Raymond Brown is a firearms trainer who regularly engages in the
   6    planning, advertising, and facilitation of firearm education courses specifically for
   7    youth or where youth are extremely likely to be in attendance and where youth
   8    lawfully use, handle, observe, or otherwise possess firearms, ammunition, and
   9    firearm parts. Compl. ¶¶ 14, 74-76.2 His firearm training and coaching sessions
  10    focus on various aspects of competitive and recreational shooting, including
  11    discussion and recommendations concerning “firearm-related products” that are
  12    most suitable for young and/or beginner shooters. Id.
  13          Plaintiffs California Youth Shooting Sports Association and Redlands
  14    California Youth Clay Shooting Sports are non-profit shooting sports organizations
  15    that offer participation in their youth shooting programs. Coleman Decl. ¶¶ 2-3, Exs.
  16    10-11; Rangel Decl. ¶¶ 2-4. Through these programs, Plaintiffs CYSSA and
  17    RCYCSS regularly engage with minors through advertising, marketing, and other
  18    communications promoting youth competitive shooting events where “firearm-
  19    related products” are used and providing recommendations on which “firearm-
  20    related products” are most suitable its young shooters’ competitive and recreational
  21    shooting needs. Coleman Decl. ¶¶ 4-7, Ex. 10; Rangel Decl. ¶¶ 5-8.
  22          Plaintiff California Rifle & Pistol Association, a non-profit member
  23    organization, not only promotes, sponsors, and hosts youth programs like those
  24    described above, Minnich Decl. ¶¶ 2, 5, 8, 12-13, Ex. 23, it is also rolling out paid
  25
  26
              2
                 Due to the unusually rapid turnaround necessary to prepare Plaintiffs’
        motion for preliminary injunction in light of AB 2571 being declared “urgency”
  27    legislation, and Mr. Brown’s summer travel and training schedule, Mr. Brown was
  28    unavailable to provide a fully executed declaration supporting this motion. Plaintiffs
        will submit Mr. Brown’s declaration as soon as he is available.
                                                  6
                 PLAINTIFFS’ MEMORANDUM OF POINTS & AUTHORITIES
Case 2:22-cv-04663-CAS-JC Document 12-1 Filed 07/20/22 Page 12 of 31 Page ID #:164



   1    memberships for youth and uses CRPA-branded merchandise and giveaways to
   2    promote the organization and solicit memberships and financial support, as well as
   3    to spread pro-gun messages. Id. ¶¶ 14-15, Exs. 23-26. CRPA also publishes a bi-
   4    monthly magazine that has included and, but for the enforcement of AB 2571,
   5    would continue to include cartoons (including political cartoons), as well as articles
   6    and depictions of the use of “firearm-related products” by minors. ¶¶ 9-11, Ex. 22.
   7    These publications also include advertisements promoting youth shooting
   8    competitions, youth recreational shooting and outdoors events, and firearm safety
   9    courses , as well as traditional advertisements for “firearm-related products.” Id.
  10          Plaintiff CRPA Foundation is a 501(c)(3) non-profit organization that not
  11    only supports, promotes, sponsors, and participates in programs for youth like those
  12    described above, it also solicits funds for and provides scholarships to individual
  13    youth shooters and youth shooting teams, publishes a variety of informational
  14    bulletins, brochures, and articles promoting the possession and use of firearms, and
  15    (in response to countless requests from CRPA and CRPAF supporters) is launching
  16    an activity book about the shooting sports for children. Gomez Decl. ¶¶ 1-9, Ex. 21.
  17          Plaintiff Gun Owners of California is a non-profit organization that regularly
  18    supports youth shooting teams and individual talented young shooters through
  19    sponsorships and other support. Through this work, GOC engages with minors
  20    through advertisements, sponsorships, and other communications promoting events
  21    where “firearm-related products” are used. Paredes Decl. ¶ 4.
  22          Plaintiff Second Amendment Foundation, a non-profit member organization,
  23    sponsors and supports an initiative called 2AGaming, an outreach program with the
  24    goal of growing the Second Amendment community. Gottlieb Decl. ¶¶ 2, 10-14.
  25    2AGaming functions by reaching out to people who play video games, especially
  26    people who play games that focus on guns. Id. ¶ 11. This outreach necessarily
  27    includes minors and young adults who play such games. Id. SAF also produces and
  28    distributes branded merchandise to promote itself, increase paid memberships,

                                     7
                PLAINTIFFS’ MEMORANDUM OF POINTS & AUTHORITIES
Case 2:22-cv-04663-CAS-JC Document 12-1 Filed 07/20/22 Page 13 of 31 Page ID #:165



   1    encourage participation in shooting sports, and spread its Second Amendment
   2    message. Id. ¶ 15.
   3          As a result of the adoption and immediate enforcement of AB 2571, Plaintiffs
   4    (and businesses across the country) have begun to curtail these activities, as well as
   5    all manner of speech that could arguably fall under AB 2571’s broad ban—fearing
   6    the draconian penalties that attach. Compl. ¶ 97; Coleman Decl. ¶¶ 8-10; Fink Decl.
   7    ¶¶16-19, Exs. 19-20; Gomez Decl. ¶ 10; Minnich Decl. ¶¶ 7-8, 11, 15; Paredes Decl.
   8    ¶ 6; Rangel Decl. ¶¶ 9-11; see also Canon Decl. ¶¶ 8-12; Fitzgerald Decl. ¶¶ 4-10.
   9                                         ARGUMENT
  10          “The purpose of a preliminary injunction is to preserve the status quo pending
  11    a determination of the action on the merits.” Chalk v. U.S. Dist. Ct. (Orange Cty.
  12    Superin. of Schs.), 840 F.2d 701, 704 (9th Cir. 1998). To obtain relief, Plaintiffs
  13    must show: (1) a likelihood of success on the merits; (2) a likelihood of irreparable
  14    harm absent preliminary relief; (3) that the balance of equities tips in his favor; and
  15    (4) that an injunction is in the public interest. Am. Trucking Ass’ns, Inc. v. City of
  16    Los Angeles, 559 F.3d 1046, 1052 (9th Cir. 2009). Because the burdens at this stage
  17    track those at trial, Plaintiffs bear only “the initial burden of making a colorable
  18    claim that [their] First Amendment rights have been infringed, or are threatened with
  19    infringement,” then “the burden shifts to the government to justify the restriction.”
  20    Doe v. Harris, 772 F.3d 563, 570 (9th Cir. 2014) (citation omitted).
  21    I.    PLAINTIFFS ARE LIKELY TO SUCCEED ON THE MERITS OF THEIR CLAIMS
  22          A.     AB 2571 Impermissibly Infringes on Plaintiffs’ Right to Free
                     Speech
  23
  24          Plaintiffs seek to engage in all manner of protected expression—including
  25    political, ideological, and educational speech, as well as commercial speech—
  26    concerning the lawful sale, possession, and use of “firearm-related products.” But
  27    the State has flatly banned Plaintiffs’ intended speech on the basis of the content and
  28    viewpoint of Plaintiffs’ message—a message that California lawmakers hardly try to

                                     8
                PLAINTIFFS’ MEMORANDUM OF POINTS & AUTHORITIES
Case 2:22-cv-04663-CAS-JC Document 12-1 Filed 07/20/22 Page 14 of 31 Page ID #:166



   1    conceal their contempt for. This Court should thus apply strict scrutiny and hold that
   2    Plaintiffs are likely to succeed on their claim that AB 2571 violates their free speech
   3    rights. But no matter what level of scrutiny applies, the result is the same—the State
   4    cannot “prov[e] the constitutionality of its actions.” United States v. Playboy Entm’t
   5    Grp., Inc., 529 U.S. 803, 816 (2000).
   6                 1.     The First Amendment Protects Plaintiffs’ Speech
   7          The First Amendment no doubt protects Plaintiffs’ intended expression. It is
   8    not obscene, defamatory, or fraudulent. It does not advocate for imminent lawless
   9    action or solicit others to commit crimes. No, Plaintiffs’ intended expression is not
  10    among those unprotected classes of speech. See United States v. Alvarez, 567 U.S.
  11    709, 717 (2012). To the contrary, it involves speech that ranges from purely political
  12    to commercial—and it all pertains to the exercise of the right to keep and bear arms.
  13    See, e.g., W. Va. State Bd. of Educ. v. Barnette, 319 U.S. 624, 642 (1943) (holding
  14    that speech about “politics, nationalism, religion, or other matters of opinion” has
  15    long been considered the core of the First Amendment); Cent. Hudson Gas & Elec.
  16    Corp. v. Public Serv. Comm’n, 447 U.S. 557, 563-64 (1980) (holding that
  17    commercial speech receives First Amendment protection if it is not misleading and
  18    concerns a lawful activity); Nordyke v. Santa Clara, 110 F.3d 707, 710 (9th Cir.
  19    2009) (holding that an offer to sell legal firearms is protected speech).
  20          For example, Plaintiff Junior Sports publishes Junior Shooters, a magazine
  21    specifically for youth shooters. Fink Decl. ¶ 3, Exs. 13-15. The magazine and
  22    website includes images and written depictions of minors lawfully enjoying the
  23    shooting sports. Id. ¶¶ 9-13, Exs. 13-16. It also features articles by and for youth
  24    endorsing “firearm-related products,” id. ¶ 10, Ex. 16, as well as marketing for youth
  25    shooting organizations, competitions, and recreational events, id. ¶¶ 11, 13, Ex. 17.
  26    Finally, Junior Sports sells space for traditional advertising concerning “firearm-
  27    related products” that minors may lawfully possess in California. Id. ¶ 14, Ex. 18.
  28    To be clear, however, the advertising is not intended to encourage minors to

                                     9
                PLAINTIFFS’ MEMORANDUM OF POINTS & AUTHORITIES
Case 2:22-cv-04663-CAS-JC Document 12-1 Filed 07/20/22 Page 15 of 31 Page ID #:167



   1    unlawfully buy firearms. Id. ¶ 15. Rather, it is intended for an audience of firearms-
   2    savvy youths who might ask their parents to purchase “firearm-related products” for
   3    their lawful use under California’s exceptions for possession of firearms by minors.
   4    Id. In short, the speech found within Junior Shooters runs the gamut of protected
   5    speech. And there is hardly a page that could survive the State’s draconian ban.
   6          Plaintiffs CRPA and SAF sell and give away branded merchandise, like t-
   7    shirts, hats, stickers, patches, and buttons, to promote the organization and solicit
   8    memberships (including youth memberships) and other financial support, as well as
   9    to spread pro-gun messages and slogans. Gottlieb Decl. ¶ 15; Minnich Decl. ¶ 14,
  10    Exs. 24-27. Because CRPA and SAF are “firearm industry members,” AB 2571
  11    prohibits this otherwise protected speech. See Hunt v. City of Los Angeles, 601 F.
  12    Supp. 2d 1158 (C.D. Cal. 2009), aff’d 638 F.3d 703 (9th Cir. 2011) (“The sale of
  13    merchandise inextricably intertwined with a religious, political, ideological, or
  14    philosophical message is fully protected by the First Amendment.”).
  15          Finally, all Plaintiffs engage, to some degree, in the advertising, marketing,
  16    promoting, sponsoring, hosting, or facilitating of and participation in lawful
  17    recreational and competitive shooting events, educational programs and firearm-
  18    safety courses, or gun shows, specifically for youth or where youth are extremely
  19    likely to be in attendance and where youth lawfully use or handle “firearm-related
  20    products.” Compl. ¶ 66; Coleman Decl. ¶¶ 4-7, Ex. 10; Fink Decl. ¶¶ 11, 13. Ex. 17;
  21    Gomez Decl. ¶¶ 7-8; Gottlieb Decl. ¶¶ 6-9; Minnich Decl. ¶¶ 5-10, 12-13; Paredes
  22    Decl. ¶ 4; Rangel Decl. ¶¶ 4-7, 10. These programs regularly involve a variety of
  23    communications depicting minors enjoying or otherwise encouraging minors to
  24    possess and use lawful firearms for lawful purposes. Compl. ¶¶ 67-68; Coleman
  25    Decl. ¶ 6; Minnich Decl. ¶ 12, Ex. 23; Rangel Decl. ¶ 6. These programs often
  26    include exhibitors that (1) promote membership in their organizations; (2) distribute
  27    branded merchandise or merchandise with pro-gun slogans; or (3) engage in speech
  28    promoting the use of firearms, the importance of firearm safety, and participation in

                                     10
                PLAINTIFFS’ MEMORANDUM OF POINTS & AUTHORITIES
Case 2:22-cv-04663-CAS-JC Document 12-1 Filed 07/20/22 Page 16 of 31 Page ID #:168



   1    youth shooting programs.
   2          So, while AB 2571 might technically ban misleading speech promoting the
   3    unlawful sale of firearms to minors, it is in no way limited to such speech. In fact, it
   4    ensnares a substantial amount of protected political, educational, and commercial
   5    speech—likely far more of such speech than the arguably unprotected speech the bill
   6    purports to target.
   7
                     2.       AB 2571 Is an Impermissible Content- and Viewpoint-based
   8                          Restriction on Speech
   9          “[A]bove all else, the First Amendment means that the government has no
  10    power to restrict expression because of its message, its ideas, its subject matter, or
  11    its content.” Police Dep’t v. Mosley, 408 U.S. 92, 95 (1972). Government
  12    restrictions that selectively ban speech based on its “particular subject matter” or “its
  13    function or purpose” are “content-based regulations.” Reed v. Town of Gilbert, 576
  14    U.S. 155, 163 (2015). Relatedly, “the regulation of speech based on ‘the specific
  15    motivating ideology or the opinion or perspective of the speaker’—is a ‘more
  16    blatant’ and ‘egregious form of content discrimination’” known as viewpoint
  17    discrimination. Id. at 2230. Content- and viewpoint-based speech restrictions are
  18    presumed invalid. Id. Indeed, holding that a government restriction on speech is
  19    content- or viewpoint-based is often determinative. See, e.g., Ark. Writers’ Project v.
  20    Ragland, 481 U.S. 221, 231-32 (1987).
  21          There can be little doubt that AB 2571 is the uniquely offensive law that both
  22    content-based and viewpoint-discriminatory. Indeed, the law singles out speech
  23    based on both its “particular subject matter”—certain speech “concerning firearm-
  24    related products”—and its “function or purpose”—speech “the primary purpose of
  25    which is to encourage recipients … to purchase or use the product or service.” Cal.
  26    Bus. & Prof. Code § 22949.80(c)(6) (emphasis added). Plaintiffs know of no other
  27    state law that flatly bans speech “concerning” a product that both minors and adults
  28    have a statutory and constitutional right to use for lawful purposes. Even restrictions

                                     11
                PLAINTIFFS’ MEMORANDUM OF POINTS & AUTHORITIES
Case 2:22-cv-04663-CAS-JC Document 12-1 Filed 07/20/22 Page 17 of 31 Page ID #:169



   1    on advertising of alcohol, tobacco, or cannabis to children are irrelevant because—
   2    unlike possession and use of firearms, Cal. Penal Code §§ 29615, 29655—it is not
   3    legal for minors to possess or use those substances in California. And none of those
   4    products are constitutionally protected.
   5          Worse yet, by targeting only the speech of organizations formed to promote
   6    the possession and use of “firearm-related products,” Cal. Bus. & Prof. Code §
   7    22949.80(c)(4), which necessarily includes nonprofits like Plaintiffs CYSSA,
   8    RCYCSS, CRPA, CRPA Foundation, GOC, and SAF, the challenged law blatantly
   9    discriminates against the viewpoint of the speaker. For instance, the law prohibits
  10    Plaintiffs CRPA and SAF from engaging in noncommercial speech soliciting
  11    memberships for youth and using branded merchandise, like hats, t-shirts, stickers,
  12    and buttons, to promote their organizations, solicit memberships, and spread their
  13    pro-gun messages. Id. § 22949.80(a), (c)(4). It does not, however, prohibit anti-gun
  14    organizations, like Moms Demand Action for Gun Sense in America and Gun Free
  15    Kids, from soliciting youth memberships or using branded merchandise bearing
  16    anti-gun messages and slogans—or even images of unlawful firearms—to promote
  17    their organizations, solicit financial support, and spread their political messages.
  18          This discriminatory impact is not hypothetical. It is already happening. In a
  19    recorded statement posted to his official Twitter account upon the signing of AB
  20    2571, Governor Newsom displayed advertising from WEE1 Tactical of their JR-15,
  21    a semiautomatic firearm that was designed for smaller, younger shooters. But
  22    because he is not a “firearm industry member” seeking to urge his audience to
  23    “purchase or use the product”—but rather an anti-gun politician seeking to disparage
  24    those whose viewpoints do not align with his—Governor Newsom is free to display
  25    the very same images WEE1 is now barred from distributing. 3
  26
  27          3
                 Rosalio Ahumada, Gavin Newsom Signs New Gun Safety Laws Targeting
        Illegal Weapons, Marketing to Kids, Sac. Bee (July 1, 2022), available at
  28    https://www.sacbee.com/news/local/crime/article263108183.html (the full video of
        Newsom’s remarks is available on the Sacramento Bee website).
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                 PLAINTIFFS’ MEMORANDUM OF POINTS & AUTHORITIES
Case 2:22-cv-04663-CAS-JC Document 12-1 Filed 07/20/22 Page 18 of 31 Page ID #:170



   1                 3.     AB 2571 Cannot Survive Heightened Scrutiny
   2          Because AB 2571 is a content-based speech restriction on noncommercial
   3    speech, it is presumed invalid and may be upheld only if the government proves it is
   4    “narrowly tailored to serve [a] compelling state interest” under strict scrutiny. Reed,
   5    576 U.S. at 163. But even under the somewhat less-demanding intermediate
   6    scrutiny, the government must still prove AB 2571 is “narrowly tailored to serve a
   7    significant government interest.” Madsen v. Women’s Health Ctr. Inc., 512 U.S.
   8    753, 764 (1994). The means employed must be “closely drawn” to avoid
   9    “unnecessary abridgment” of protected conduct. McCutcheon v. FEC, 572 U.S. 185,
  10    199 (2014). AB 2571 is not “closely drawn” to any legitimate government interest,
  11    and it cannot pass constitutional muster under any test the Court might apply.
  12          First, the State has no actual compelling or substantial interest in banning
  13    Plaintiffs’ political and educational speech concerning “firearm-related products.”
  14    Indeed, the State’s purported interests in “ensuring that minors do not possess
  15    [firearms]” and “protecting its citizens … from gun violence,” Req. Jud. Ntc. Ex. 1
  16    at 3, Ex. 3 at 11, are inconsistent with the fact that, under California law, minors can
  17    and do literally possess firearms and related products for a myriad of legal reasons.
  18    Cal. Penal Code § 29615 (firearms); id. § 29655 (ammunition).
  19          What’s more, the State has no legitimate interest in simply curbing the mere
  20    “proliferation of firearms to and among minors.” Id. Ex. 1 at 1. Even minors have at
  21    least some right to possess firearms for lawful purposes. See Ezell v. City of
  22    Chicago, 846 F.3d 888, 896 (7th Cir. 2017) (holding that “there’s zero historical
  23    evidence that firearm training for [minors] is categorically unprotected”). The State,
  24    however, apparently believes that the exercise of that right by youths—even with
  25    their parents’ consent and supervision—is unwise. So it seeks to shield them from
  26    (some) speech that might encourage them to engage in the shooting sports and,
  27    ultimately, become the “next generation of [Second Amendment] advocates and
  28    customers” of firearms. Req. Jud. Ntc., Ex. 6 at 9. But the State may not ban

                                     13
                PLAINTIFFS’ MEMORANDUM OF POINTS & AUTHORITIES
Case 2:22-cv-04663-CAS-JC Document 12-1 Filed 07/20/22 Page 19 of 31 Page ID #:171



   1    constitutionally protected speech to indirectly advance an illegitimate interest in
   2    reducing the demand for engaging in constitutionally protected conduct. And while
   3    the State has a “legitimate power to protect children from harm,” that authority
   4    “does not include a free-floating power to restrict the ideas to which children may be
   5    exposed.” Brown v. Entm’t Merchs. Ass’n, 564 U.S. 786, 798 (2011).
   6          Really, the State’s interest was an animus-driven desire to eradicate a vital
   7    outlet for the exchange of ideas related to the lawful use of firearms and for the
   8    preservation of the “gun culture” by engaging youth in the shooting sports. Both on
   9    its face and as evidenced by its legislative history, this appears to be the very intent
  10    of AB 2571. Indeed, the Senate Judiciary Committee’s Bill Analysis quotes heavily
  11    from a 2016 report that disparagingly “outlines the [so-called] problem” of the “gun
  12    industry’s” attempts “to attract future legal gun owners” and “recruit[] children into
  13    the gun culture.” Req. Jud. Ntc., Ex. 6 at 7-8 (quoting Josh Sugarman, “Start Them
  14    Young” How the Firearms Industry and Gun Lobby Are Targeting Your Children
  15    (Feb. 2016)). As the bill’s author put it, the firearm industry:
  16                [E]ncourages children to hold a gun as soon as they can walk.
                    Gun manufacturers view children as their next generation of
  17                advocates and customers and target them with slick
                    advertising—even children’s books. The advertising for these
  18                weapons is shameless. Children in California are not allowed
                    to buy or own a gun, yet they are advertised to across all
  19                forms of media with cartoons, video games, and social
                    media.
  20                                               ….
  21                Guns are not a toy. Guns are a tool of death. Taking away
                    this tool of violent indoctrination from the gun industry is a
  22                vital step forward to protect California’s children.
  23    Id. at Ex. 6 at 9, Ex. 8 at 5 (emphases added). Setting aside the author’s readily
  24    apparent animus, it is clear that the intent of AB 2571 was not simply to prevent
  25    unlawful purchase or use of firearms by minors or to curb gun violence, but to
  26    prevent “firearm industry members” from “indoctrinating” youth to become
  27    “advocates” for the Second Amendment and “gun culture” in America.
  28          But even if the State could point to some sufficient interest in public safety, it

                                     14
                PLAINTIFFS’ MEMORANDUM OF POINTS & AUTHORITIES
Case 2:22-cv-04663-CAS-JC Document 12-1 Filed 07/20/22 Page 20 of 31 Page ID #:172



   1    cannot prove that AB 2571 is appropriately tailored to that end. The requirement of
   2    narrow tailoring requires the government to target the exact wrong it seeks to
   3    remedy—and no more. Frisby v. Schultz, 487 U.S. 474, 485 (1988) (“A statute is
   4    narrowly tailored if it targets and eliminates no more than the exact source of the
   5    evil it seeks to remedy.”). AB 2571 comes nowhere near meeting this exacting
   6    requirement. To the contrary, it sweeps up all communications “concerning firearm-
   7    related products” made by “firearm industry members” “in exchange for monetary
   8    compensation” that are “designed, intended, or reasonably appear[] to be attractive
   9    minors.” Cal. Bus. & Prof. Code § 22949.80(a)(1), (c)(6) (emphasis added). This
  10    includes communications promoting lawful activities, including recreational events,
  11    competitions, shooting skills courses, and safety programs specifically for youth or
  12    where youth are likely to be in attendance and where youth lawfully use and handle
  13    “firearm-related products.” It also prohibits pro-gun organizations from soliciting
  14    members through marketing to and providing memberships for minors.
  15          Even assuming AB 2571 were not written with the intention of barring these
  16    programs (and the advertising necessarily attendant to them), that is its effect.
  17    Indeed, AB 2571 is so vague that Plaintiffs (and others similarly situated) have
  18    begun to curtail all manner of speech that could arguably fall under its overly broad
  19    ban. Compl. ¶115.4 Thus, AB 2571 is likely to chill (and has already chilled) a wide
  20    range of protected activities. This “chilling” also offends the First Amendment.
  21    Edge v. City of Everett, 929 F.3d 657, 664-65 (9th Cir. 2019) (requiring “specificity
  22    of laws” when “First Amendment freedoms are” implicated because unclear laws
  23    might “chill[] protected speech or expression by discouraging participation”).
  24
                     4.     Even If AB 2571 Restricted Only Commercial Speech, It
  25                        Fails the Test Set Forth in Central Hudson
  26          The fact that AB 2571 also restricts purely commercial speech—speech that

  27    does no more than propose a commercial transaction—does not change the result.

  28          4
                See, e.g., Coleman Dec. ¶¶ 8-10; Fink Decl. ¶¶ 16-19, Exs. 19-20; Minnich
        Decl. ¶¶ 7-8, 11, 15; see also Canon Decl. ¶¶ 8-12; Fitzgerald Decl. ¶¶ 4-10.
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                PLAINTIFFS’ MEMORANDUM OF POINTS & AUTHORITIES
Case 2:22-cv-04663-CAS-JC Document 12-1 Filed 07/20/22 Page 21 of 31 Page ID #:173



   1    Such speech receives First Amendment protection if it is not misleading and
   2    concerns a lawful activity. Cent. Hudson Comm’n, 447 U.S. at 563-64. Government
   3    restrictions on such speech are constitutional only if they directly advance a
   4    substantial government interest and are not broader than necessary to serve that
   5    interest. Id. at 564.5 AB 2571 fails the Central Hudson test at every step.
   6
                            a.     AB 2571 restricts non-misleading speech that concerns
   7                               lawful activity.
   8          Again, AB 2571 does not merely restrict misleading speech promoting the
   9    unlawful sale of firearms to minors. Argument, Part I.A.1, supra. Even still, the
  10    State has suggested that Plaintiffs’ intended speech is unprotected (and may thus be
  11    banned) because, in its view, the “truthfulness” of “marketing materials in which
  12    firearm-related products are attractive to minors” is “debatable.” Req. Jud. Ntc., Ex.
  13    3 at 10-11. For support, the State made the exaggerated claim that, “in most cases,”
  14    minors “cannot lawfully possess” firearms in California. Id. While it may be
  15    technically true that “lawful possession of a firearm by a minor is … the [statutory]
  16    exception rather than the rule,” id. at 11, the exception is so broad that it nearly
  17    swallows the rule. To be clear, minors may legally possess firearms and ammunition
  18    when they are engaged in or traveling to or from recreational sports if a parent or
  19    guardian is present or if the minor is accompanied by another responsible adult and
  20    their parent has given written consent. Cal. Penal Code §§ 29615(a)-(b), 29655;
  21    Barvir Decl., Ex. 32 (Department of Fish & Wildlife form seeking parental consent
  22    for minor to “handle, manipulate, and/or use firearms” during the state hunter’s
  23    safety course). If the minor’s parent consents, and the minor is at least 16 or is
  24
              5
                 Though this is currently the test for so-called “commercial speech” that this
  25    Court is likely bound to apply, modern case law is trending toward extending full
        First Amendment protection to all speech. See Sorrell v. IMS Health, Inc., 564 U.S.
  26    552 (2011). Plaintiffs thus reserve their right to advocate for the application of strict
        scrutiny to AB 2571’s restrictions on “commercial speech” on appeal. In fact, this
  27    case illustrates well why commercial speech should be afforded full protection. For
        the language of AB 2571 makes it nearly impossible to tease out a clear distinction
  28    between commercial and noncommercial speech. The two types of speech are so
        inextricably intertwined that nothing less than full protection is appropriate.
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                 PLAINTIFFS’ MEMORANDUM OF POINTS & AUTHORITIES
Case 2:22-cv-04663-CAS-JC Document 12-1 Filed 07/20/22 Page 22 of 31 Page ID #:174



   1    engaging in recreational sports on “lands lawfully possessed by their parent or
   2    guardian,” no adult even need be present. Cal. Penal Code § 29615(c)-(d). And not
   3    for nothing, but federal law includes “all able-bodied male [citizens] at least 17
   4    years of age” as part of the “militia.” 10 U.S.C. § 246. So not firearm possession by
   5    minors is not only legal under state law, but federal law also anticipates that some
   6    will be equipped with firearms and trained in their use if called upon to serve.
   7          This fact was not lost on the Legislature. To the contrary, the Assembly
   8    Judiciary Committee’s analysis recognizes that “advertising and marketing materials
   9    that encourage minors to possess and use firearms may or may not concern a lawful
  10    activity.” Req. Jud. Ntc., Ex. 3 at 11 (emphasis added). But instead of targeting only
  11    speech promoting unlawful activity, the State chose to ban even speech concerning
  12    legal (and constitutionally protected) conduct. “Even if [California] could prohibit
  13    advertisements reading, ‘Hey kids, buy [guns] here,’ [AB 2571] sweep[s] much
  14    more broadly than that.” Lorillard Tobacco Co. v. Reilly, 533 U.S. 525, 579 (2001)
  15    (Thomas, J., concurring). Indeed, it targets any communication “designed, intended,
  16    or [that] reasonably appears to be attractive to minors” and “concern[s] any firearm-
  17    related product,” if the purpose of the speech is to encourage the “purchase or use
  18    [of] the product or service.” Cal. Bus. & Prof. Code § 22949.80(a)(1), (c)(6). That
  19    includes speech that encourages the lawful use of firearm-related products by not
  20    only minors, but adults as well. Req. Jud. Ntc., Ex. 2 at 6.
  21
                            b.    The State has no substantial interest in banning
  22                              Plaintiffs’ protected commercial speech.
  23          The second prong of Central Hudson requires the State to demonstrate that it
  24    has a substantial governmental interest in the restriction of commercial speech. 447
  25    U.S. at 566. The findings of AB 2571 advance two interests it declares are
  26    “compelling”—“ensuring that minors do not possess [firearms]” and protecting
  27    Californians from gun violence. Req. Jud. Ntc., Ex. 1 at 3. As discussed above,
  28    neither interest appears genuine, and both are undercut by the State’s laws expressly

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                PLAINTIFFS’ MEMORANDUM OF POINTS & AUTHORITIES
Case 2:22-cv-04663-CAS-JC Document 12-1 Filed 07/20/22 Page 23 of 31 Page ID #:175



   1    allowing minors to possess firearms for lawful purposes. Plaintiffs nevertheless
   2    assume, without conceding that it is the State’s actual interest, that the State
   3    generally has a substantial interest in preventing violence against its citizens.
   4
                            c.     AB 2571 does not directly and materially advance the
   5                               State’s purported interests.
   6          The third prong of Central Hudson requires the government to show “that the
   7    speech restriction directly and materially advances the asserted governmental
   8    interest[s].” Greater New Orleans Broad. Ass’n v. United States, 528 U.S. 173, 188
   9    (1999). “This burden requires more than ‘mere speculation or conjecture; rather, a
  10    governmental body seeking to restrain a restriction on commercial speech must
  11    demonstrate that the harms it recites are real and that its restriction will in fact
  12    alleviate them to a material degree.’” Tracy Rifle & Pistol LLC v. Harris, 339 F.
  13    Supp. 3d 1007, 1013 (E.D. Cal. 2018) (quoting Edenfield v. Fane, 507 U.S. 761,
  14    770-71 (1993)). This prong is “critical; otherwise, ‘a State could with ease restrict
  15    commercial speech in the service of other objectives that could not themselves
  16    justify a burden on commercial expression.’” Rubin v. Coors Brewing Co., 514 U.S.
  17    476, 487 (1995) (quoting Edenfield, 507 U.S. at 771)).
  18          The Assembly Judiciary Committee’s analysis claims that AB 2571 “directly
  19    advances its stated governmental interests to limit the exposure of, and consumption
  20    by, minors to such advertising and marketing material, given the lethality (and
  21    general illegality for minors) of the products being advertised.” Req. Jud. Ntc., Ex. 3
  22    at 11. The argument rests on at least two faulty premises. First, it builds on the
  23    deceptive claim that minors may not lawfully possess firearms in California, while
  24    ignoring the fact that the law bars even communications about expressly lawful
  25    recreational and training purposes—the very purposes that Plaintiffs’
  26    communications serve. But more importantly, it subtly morphs the State’s likely
  27    substantial interest in protecting minors from physical harm to an illegitimate
  28    interest in limiting the exposure of minors to certain speech the Legislature finds too

                                     18
                PLAINTIFFS’ MEMORANDUM OF POINTS & AUTHORITIES
Case 2:22-cv-04663-CAS-JC Document 12-1 Filed 07/20/22 Page 24 of 31 Page ID #:176



   1    harmful for them to hear. See Erznoznik v. Jacksonville, 422 U.S. 205, 213-14
   2    (1975) (holding that protected speech “cannot be suppressed solely to protect the
   3    young from ideas or images that a legislative body thinks unsuitable for them”).
   4          Essentially, the State speculates that by silencing speech that promotes the use
   5    of firearms in ways that might appear attractive to minors, the State might reduce the
   6    demand for possession of firearms by minors and thereby serve its interest in
   7    curbing gun violence. At best, this is an impermissible restriction on speech that
   8    only indirectly serves the State’s public safety interest—if it serves it at all. Sorrell,
   9    564 U.S. at 554-55 (holding that the state may not “achieve its policy objectives
  10    through the indirect means of restraining certain speech by certain speakers”).
  11          At worst, it is the sort of “paternalistic approach” the Supreme Court has long
  12    condemned. See Va. Bd. of Pharm. v. Va. Citzs. Consumer Council, 425 U.S. 748,
  13    770 (1976). By denying Californians access to truthful information concerning
  14    lawful firearm-related products, the State seeks to deter minors’ supposedly harmful,
  15    but legal, possession and use of firearms, as well as their parents’ exercise of their
  16    right to consent to such use by their minor children. “There is, of course, an
  17    alternative to this highly paternalistic approach,” the Supreme Court once held.
  18    “That alternative is to assume that this information is not in itself harmful, that
  19    people will perceive their own best interests if only they are well enough informed,
  20    and that the best means to that end is to open the channels of communication rather
  21    than to close them.” Id., see also Thompson v. W. States Med. Ctr., 535 U.S. 357,
  22    374 (2002) (holding that the state cannot justify content-based restrictions based on
  23    the “fear that people would make bad decisions if given truthful information”).
  24
                            d.     AB 2571 is far more extensive than necessary to
  25                               achieve the State’s purported interests.
  26          The last prong of Central Hudson requires the State to show that the speech

  27    restriction “is no more extensive than necessary to further” its purported interests.

  28    447 U.S. at 569-70. Even commercial speech restrictions purportedly aimed at

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                PLAINTIFFS’ MEMORANDUM OF POINTS & AUTHORITIES
Case 2:22-cv-04663-CAS-JC Document 12-1 Filed 07/20/22 Page 25 of 31 Page ID #:177



   1    protecting minors must be narrowly drawn to achieving an asserted state interest.
   2    See, e.g., Lorillard, 533 U.S. at 565-66 (striking restrictions on tobacco marketing
   3    likely to be observed by children). Indeed, “minors are entitled to a significant
   4    measure of First Amendment protection, and only in relatively narrow and well-
   5    defined circumstances may the government bar public dissemination of protected
   6    materials to them.” Erznoznik, 422 U.S. at 212-13. So even if the Court assumes AB
   7    2571 directly advances some substantial interest, the law must still be struck down
   8    because it is far more extensive than necessary to achieve that interest.
   9          AB 2571 includes communications that are equally attractive to adults who
  10    have a right to obtain information about such products to make informed decisions
  11    for both themselves and their children. As the bill’s legislative history confirms, “the
  12    prohibition on marketing of firearms that are ‘attractive to children’ applies whether
  13    the media is directed to children or a general audience. In other words, it applies to
  14    all marketing, regardless of the target audience.” Req. Jud. Ntc., Ex. 2 at 6. AB 2571
  15    thus impinges on the protected interest of “firearm industry members” “in conveying
  16    truthful information about their products to adults,” and adults’ “corresponding
  17    interest in receiving truthful information about [firearm-related] products” to make
  18    informed decisions for both themselves and their children. Lorillard, 533 U.S. at
  19    564. It is also “seriously overinclusive because it abridges the First Amendment
  20    rights of young people whose parents … think [the shooting sports] are a harmless
  21    [even beneficial] pastime.” See Entm’t Merchs. Ass’n, 564 U.S. at 805.
  22          But even if AB 2571 targeted a narrower class of speech, it would remain far
  23    too broad for the simple reason that the State “has various other laws at its disposal
  24    that would allow it to achieve its stated interests while burdening little or no
  25    speech.” Valle Del Sol v. Whiting, 709 F.3d 808, 826 (9th Cir. 2013). “[I]f the
  26    [g]overnment could achieve its interests in a manner that does not restrict speech, or
  27    that restricts less speech, the [g]overnment must do so.” Thompson, 535 U.S. at 371.
  28    Among the many options available to the State, the most obvious is to directly

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                PLAINTIFFS’ MEMORANDUM OF POINTS & AUTHORITIES
Case 2:22-cv-04663-CAS-JC Document 12-1 Filed 07/20/22 Page 26 of 31 Page ID #:178



   1    regulate the very conduct with which the State purports to be concerned—or to
   2    enforce its existing regulations on that conduct. See, e.g., Valle Del Sol, 709 F.3d at
   3    826-27 (holding that Arizona could further its interest in traffic safety by enforcing
   4    existing traffic regulations); Lorillard, 533 U.S. at 586 (Thomas, J., concurring)
   5    (observing that “Massachusetts already prohibits the sale of tobacco to minors, but it
   6    could take steps to enforce that prohibition more vigorously”).
   7          “If the [State] considers its existing safeguards inadequate to combat [firearm
   8    misuse by minors], it may pass additional direct regulations within constitutionally
   9    permissible boundaries.” Tracy Rifle, 339 F. Supp. 3d at 1018-19.6 Or it may
  10    counteract firearm advertising with which it disagrees with “more speech, not
  11    enforced silence.” Lorillard, 533 U.S. at 586 (Thomas, J., concurring). For example,
  12    if the State is concerned about the dangers of firearms in kids’ hands, it could launch
  13    an educational campaign promoting safe firearm handling, storage, and use or
  14    reminding retailers of their responsibilities with regard to sales to minors. What it
  15    cannot do is flatly ban a broad class of truthful advertising concerning lawful
  16    products simply because some of its viewers might be inspired to act on it
  17    unlawfully. If it could, “then there is no limit to the State’s censorial power.”
  18    Lorillard, 533 U.S. at 580 (Thomas, J., concurring).
  19          B.     AB 2571 Impermissibly Infringes on Plaintiffs’ Right to Associate
  20          The First Amendment protects not only the right of free speech, but also the
  21    right to freely associate. U.S. Const., amend. I. The freedom to associate often
  22    merges with the right to free expression because “[e]ffective advocacy of both
  23    public and private points of view, particularly controversial ones, is undeniably
  24    enhanced by group association.” NAACP v. Patterson, 357 U.S. 449, 462 (1958).
  25    “Governmental action which may have the effect of curtailing” this right “is subject
  26
  27          6
                The legislative history confirms that the State “could advance its interest to
        keep these attractive [to children] yet deadly products out of the stream of commerce
  28    without suppressing otherwise lawful speech” by directly restricting the sale of
        firearms designed or intended for children. Req. Jud. Ntc., Ex. 3 at 15.
                                                  21
                PLAINTIFFS’ MEMORANDUM OF POINTS & AUTHORITIES
Case 2:22-cv-04663-CAS-JC Document 12-1 Filed 07/20/22 Page 27 of 31 Page ID #:179



   1    to the closest scrutiny.” Id. at 461-62. So for the same reasons AB 2571 offends the
   2    First Amendment right to speech, it also offends the right of Plaintiffs to associate.
   3          Indeed, AB 2571 casts such a wide net that it prohibits Plaintiffs from
   4    advertising, marketing, or arranging for the placement of advertising or marketing
   5    concerning their various firearm-related programs and services, where Plaintiffs
   6    peacefully and lawfully assemble and associate with each other and members of the
   7    public, including youth, to engage in expressive activities related to “gun culture,”
   8    the lawful use of firearms, and preservation of the Second Amendment. See Factual
   9    Background, Part II, supra. It also directly prohibits Plaintiffs CRPA and SAF from
  10    advertising, marketing, or arranging for the placement of advertising or marketing
  11    paid memberships to youth and from distributing branded merchandise to promote
  12    membership in their organizations. Id. The State’s interest in restricting Plaintiffs’
  13    right to free association is neither compelling nor significant. See Argument, Part
  14    I.B. It is not narrowly tailored, and it is not the least restrictive means. Id. Thus, AB
  15    2517 cannot survive heightened judicial scrutiny.
  16          C.     AB 2571 Denies Plaintiffs Equal Protection Under the Law
  17          Singling out Plaintiffs because of the content of their speech, as AB 2571
  18    does, also violates Plaintiffs’ fundamental rights under the Equal Protection Clause.
  19    U.S. Const. amend. XIV. The Supreme Court, long ago, recognized that both the
  20    Equal Protection Clause and the First Amendment forbid the government from
  21    granting “the use of a forum to people whose views it finds acceptable, but
  22    deny[ing] use to those wishing to express less favored or more controversial views.”
  23    Mosley, 408 U.S. at 96. If unequal treatment occurs in the context of exercising a
  24    fundamental right, or the government is motivated by animus toward a disfavored
  25    group, courts apply heighted scrutiny. See Loving v. Virginia, 388 U.S. 1, 11 (1967).
  26          AB 2571, which targets only “firearm industry members,” including
  27    organizations whose purpose is to preserve and promote the Second Amendment
  28    right to keep and bear arms, is undeniably infused with the State’s desire to harm

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                PLAINTIFFS’ MEMORANDUM OF POINTS & AUTHORITIES
Case 2:22-cv-04663-CAS-JC Document 12-1 Filed 07/20/22 Page 28 of 31 Page ID #:180



   1    this politically unpopular group. See Argument, Part I.A.3, supra. It was introduced
   2    at the direction of the popular governor of California, who does not believe that
   3    those who engage in or support the now-banned speech are “decent human beings”
   4    or have “common sense.” Ahumada, supra n. 3; Compl. ¶¶ 42, 105; Barvir Decl.,
   5    Ex. 31; Req. Jud. Ntc., Ex. 2 at 3, Ex. 6 at 2, Ex. 8 at 1; see also Barvir Decl., Exs.
   6    29-31. And the bill’s legislative history is littered with references to the State’s
   7    concerns with the “problem” of exposing children to the “gun culture.” Compl. ¶¶
   8    99-104; Req. Jud. Ntc., Ex. 2 at 4-5, Ex. 3 at 1, 9-10, Ex. 6 at 7-8, Ex. 8 at 4-5.
   9    They’re tomorrow’s voters, after all, and the State simply cannot stand for them
  10    having a positive experience with firearms. See Compl. ¶ 102; Barvir Decl., Ex. 28.
  11           Once again, the State cannot justify AB 2571 under either heightened
  12    scrutiny for purposes of the First Amendment, and it cannot justify it for purposes of
  13    equal protection either. Because the law is not narrowly tailored to serve some
  14    compelling government interest, it unconstitutionally denies Plaintiffs equal
  15    protection under the law. It is invalid and should be enjoined.
  16
        II.   PLAINTIFFS ARE SUFFERING IRREPARABLE HARM AND WILL CONTINUE TO
  17          SUFFER SUCH HARM IF THE COURT DENIES PRELIMINARY RELIEF
  18          If this Court concludes that Plaintiffs are likely to succeed on any one of their
  19    alleged constitutional violations, the remaining preliminary injunction factors follow
  20    readily. “It is well established that the deprivation of constitutional rights
  21    ‘unquestionably constitutes irreparable injury.’” Melendres v. Arpaio, 695 F.3d 990,
  22    1002 (9th Cir. 2012) (quoting Elrod v. Burns, 427 U.S. 347, 373 (1976)); 11A
  23    Charles Alan Wright et al., Federal Practice and Procedure § 2948.1 (2d ed. 1995)
  24    (“When an alleged deprivation of a constitutional right is involved, most courts hold
  25    that no further showing of irreparable injury is necessary.”). In the First Amendment
  26    context, such harm is particularly acute. Indeed, the Supreme Court has long held
  27    that “[t]he loss of First Amendment freedoms, for even minimal periods of time,
  28    unquestionably constitutes irreparable injury.” Elrod, 427 U.S. at 373.

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                PLAINTIFFS’ MEMORANDUM OF POINTS & AUTHORITIES
Case 2:22-cv-04663-CAS-JC Document 12-1 Filed 07/20/22 Page 29 of 31 Page ID #:181



   1    III.   THE BALANCE OF EQUITIES AND PUBLIC INTEREST WARRANT RELIEF
   2           When the government is a party, the final two factors of the preliminary
   3    injunction test—whether the balance of equities and the public interest—merge.
   4    Nken v. Holder, 556 U.S. 418, 435 (2009). The Court’s inquiry thus weighs the
   5    interests of the Plaintiffs, the government, and the public, balancing the relative
   6    harms to each should preliminary relief be granted or denied. Application of this test
   7    to the case at bar plainly favors injunctive relief.
   8           The Ninth Circuit has consistently held that when challenging government
   9    action that affects the exercise of constitutional rights—especially First Amendment
  10    freedoms—“[t]he balance of equities and the public interest … tip sharply in favor
  11    of enjoining the” law. Klein v. City of San Clemente, 584 F.3d 1196, 1208 (9th Cir.
  12    2009) (emphasis added). Truly, “[i]t is always in the public interest to prevent the
  13    violation of a party’s constitutional rights. Index Newsps. LLC v. U.S. Marshalls
  14    Serv., 977 F.3d 817 (9th Cir. 2020). Certainly, there is a “‘significant public interest’
  15    in upholding free speech principles, as the ‘ongoing enforcement of the potentially
  16    unconstitutional [law] … would infringe not only the free expression interests of
  17    plaintiffs, but also the interests of other people’ subjected to the same restrictions.”
  18    Id. (citation omitted). “[E]nforcement of an unconstitutional law,” on the other hand,
  19    “is always contrary to the public interest.” Gordon v. Holder, 721 F.3d 638, 653
  20    (D.C. Cir. 2013); see also Am. Civ. Liberties Union v. Alvarez, 679 F.3d 583, 590
  21    (7th Cir. 2012) (“[T]he public interest is not harmed by preliminarily enjoining the
  22    enforcement of a law that is probably unconstitutional.”)
  23           Enjoining the enforcement of AB 2571 will end the irreparable harm Plaintiffs
  24    are currently suffering, including the violation of their rights to free speech, free
  25    association and assembly, and equal protection under the law, as well as the state’s
  26    improper interference with their missions. But not only Plaintiffs’ rights are at stake,
  27    so too are the rights of all people seeking to engage in protected expression barred
  28    by the state’s extraordinarily broad ban, as well as those who seek to hear the

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                PLAINTIFFS’ MEMORANDUM OF POINTS & AUTHORITIES
Case 2:22-cv-04663-CAS-JC Document 12-1 Filed 07/20/22 Page 30 of 31 Page ID #:182



   1    messages the state has banished. These interests far outweigh whatever burden the
   2    State might trot out. For the state “cannot suffer harm from an injunction that merely
   3    ends an unlawful practice or reads a statute as required to avoid constitutional
   4    concerns.” Rodriguez v. Robbins, 715 F.3d 1127, 1145 (9th Cir. 2013). To be sure,
   5    the State may have a general public safety interest in preventing “gun violence” or
   6    even a specific interest in stopping minors from illegally obtaining firearms. But
   7    enforcement of AB 2571 does not serve those interests in any meaningful (or
   8    appropriately tailored) way—particularly because the State can readily further such
   9    goals by enforcing existing laws directly prohibiting the unlawful possession and
  10    sale of firearms to and by minors.
  11                                         CONCLUSION
  12          For the foregoing reasons, the Court should grant Plaintiffs’ Motion for
  13    Preliminary Injunction and enjoin the enforcement of section 22949.80.
  14    Dated: July 19, 2022                  MICHEL & ASSOCIATES, P.C.
  15                                          s/ Anna M. Barvir
                                              Anna M. Barvir
  16                                          Counsel for Plaintiffs Junior Sports Magazines
                                              Incorporated, Raymond Brown, California
  17                                          Youth Shooting Sports Association, Inc.,
                                              Redlands California Youth Clay Shooting
  18                                          Sports Inc., California Rifle & Pistol
                                              Association, Inc., The CRPA Foundation, and
  19                                          Gun Owners of California
  20    Dated: July 19, 2022                  LAW OFFICES OF DONALD KILMER, APC
  21                                          s/ Donald Kilmer
                                              Donald Kilmer
  22                                          Counsel for Plaintiff Second Amendment
                                              Foundation
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                PLAINTIFFS’ MEMORANDUM OF POINTS & AUTHORITIES
Case 2:22-cv-04663-CAS-JC Document 12-1 Filed 07/20/22 Page 31 of 31 Page ID #:183



   1                            CERTIFICATE OF SERVICE
                          IN THE UNITED STATES DISTRICT COURT
   2                        CENTRAL DISTRICT OF CALIFORNIA
   3
        Case Name: Junior Sports Magazines, Inc., et al. v. Bonta
   4    Case No.: 2:22-cv-04663-CAS (JCx)
   5
        IT IS HEREBY CERTIFIED THAT:
   6
   7           I, the undersigned, am a citizen of the United States and am at least eighteen
        years of age. My business address is 180 East Ocean Boulevard, Suite 200, Long
   8    Beach, California 90802.
   9
               I am not a party to the above-entitled action. I have caused service of:
  10
           PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN
  11          SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY
                               INJUNCTION
  12
  13    on the following party by electronically filing the foregoing with the Clerk of the
        District Court using its ECF System, which electronically notifies them.
  14
  15    Kevin J. Kelly, Deputy Attorney General
        kevin.kelly@doj.ca.gov
  16
        300 South Spring Street, Suite 9012
  17    Los Angeles, CA 90013
  18       Attorney for Defendant

  19           I declare under penalty of perjury that the foregoing is true and correct.
  20
        Executed July 20, 2022.
  21
  22
                                                      Laura Palmerin
  23
  24
  25
  26
  27
  28


                                  CERTIFICATE OF SERVICE
